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                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF MICHIGAN


 KATRINA MACKLEY,

         Plaintiff,
 v.                                                                    Hon. Robert J. Jonker

 MASON PUBLIC SCHOOL                                                   Case No. 1:24-cv-00076
 DISTRICT, et al.,

         Defendants.


                      ORDER REGARDING SETTLEMENT CONFERENCE

       IT IS HEREBY ORDERED:

       An early settlement conference previously scheduled for May 16, 2024, is

RESCHEDULED for July 9, 2024, at 9:15 AM by video before the Honorable Sally J. Berens.

       1.       Persons Required to Attend. All parties and the attorneys who are to conduct the

trial shall attend the settlement conference in person unless specifically excused by written motion

and order (or otherwise directed) by the Court. W.D. Mich. LCivR 16.6. Where the party is not a

natural person, a representative of the party with full settlement authority must attend. The person

with settlement authority must come with authority to accept, without further contact with another

person, the settlement demand of the opposing party. In addition, where a party is insured, a

representative of the insurer who is authorized to negotiate and to settle the matter (within policy

limits) up to the amount of the opposing parties' existing settlement demand shall also attend.

       2.       Settlement Letter to Opposing Party. A settlement conference is more likely to be

productive if, before the conference, the parties have had a written exchange of their settlement

proposals. Accordingly, at least 14 days prior to the settlement conference, plaintiff’s counsel shall

submit a written itemization of damages and settlement demand to defendant’s counsel with a brief
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explanation of why such a settlement is appropriate. No later than seven days prior to the

settlement conference, defendant’s counsel shall submit a written offer to plaintiff’s counsel with

a brief explanation of why such a settlement is appropriate. This may lead directly to a settlement.

If settlement is not achieved, plaintiff’s counsel shall deliver or e-mail copies of these letters to

chambers no later than three business days before the conference. Letters should be mailed, hand

delivered, or emailed to berensmediation@miwd.uscourts.gov. Do not file copies of these letters

in the case.

        3.     Confidential Settlement Letter to Court. In addition, three business days before

the conference, each party or their attorney shall submit to Judge Berens’s chambers a confidential

letter concerning settlement. Letters should be mailed, hand delivered, or emailed to

berensmediation@miwd.uscourts.gov. A copy of this letter need not be provided to any other

party. Do not file a copy of this letter in the case. All information in the settlement letter shall

remain confidential and will not be disclosed to any other party without the approval of the writer.

The confidential settlement letter shall set forth: (a) the name and title of the party representative

who will be present at the settlement conference, with counsel’s certificate on that the

representative will have full authority to settle, without the need to consult with any other party;

(b) a very brief explanation of the nature of the case, including an identification of any parties

added or dismissed since the time of filing; (c) a history of settlement negotiations to date,

including all offers, demands and responses; (d) the policy limits of any relevant insurance

coverage; (e) the limits on settlement authority given to counsel by the client; (f) that party’s

suggestions concerning the most productive approach to settlement; (g) any other matter that

counsel believes will improve the chances for settlement. Plaintiff shall also provide an estimated




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range of damages recoverable at trial and a brief analysis of the method(s) used for arriving at the

estimate(s).

       4.      Case Manager: Confidential submissions or any question concerning this order or

the settlement conference should be directed to Julie Lenon, Judicial Assistant to Magistrate

Judge Sally J. Berens, (616) 456-2528.

Dated: May 10, 2024                                          /s/ Sally J. Berens
                                                             SALLY J. BERENS
                                                             U.S. Magistrate Judge




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